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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                                  8:17CR374

      v.
                                                                   ORDER
JONATHAN RAMONE FRANKLIN,

                     Defendant.


       Defendant Jonathan Ramone Franklin (“Franklin”) is charged with robbing the
Security Home Bank in Malmo, Nebraska, at gunpoint on November 22, 2017, in
violation of 18 U.S.C. §§ 2113(a), 924(c), and 2, and with being a felon in possession of
a firearm, in violation of 18 U.S.C. § 922(g). Now before the Court is the magistrate
judge’s 1 Findings and Recommendation (Filing No. 72) recommending the Court deny
Franklin’s Motion to Suppress (Filing No. 63) “all evidence seized as a result of the
traffic stop” of Franklin’s vehicle on a highway just outside of Malmo shortly after the
robbery. Aptly relying on United States v. Daniel, 887 F.3d 350, 354-55 (8th Cir. 2018),
the magistrate judge concluded “[t]he temporal and geographic proximity of [Franklin’s
vehicle] to the scene of the robbery, as well as a matching description of the vehicle [by
witnesses to the robbery], provided reasonable suspicion for the stop.” The magistrate
judge further found the search of Franklin’s vehicle was proper.

       On May 16, 2018, Franklin timely objected (Filing No. 73) to the Findings and
Recommendation, arguing the magistrate judge “erred in finding that reasonable
suspicion justified the traffic stop.” Franklin contends the traffic stop violated the Fourth
Amendment to the U.S. Constitution because he and his vehicle “only partially matched
the description” of the suspects and their vehicle in a law-enforcement dispatch after the

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       The Honorable Susan M. Bazis, United States Magistrate Judge for the District of
Nebraska.
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robbery. In Franklin’s view, the “detention of him or his vehicle became unreasonable”
when officers who had been told about two robbery suspects “found that Franklin’s
vehicle only had one male occupant.”

       In light of Franklin’s objection, this Court has conducted a thorough de novo
review of his Motion to Suppress, the parties’ briefs, the Findings and Recommendation,
and the underlying evidence in this case. See 28 U.S.C. § 636(b)(1). Based on that
review, the Court concludes Franklin’s Motion to Suppress should be denied for the
reasons stated in the magistrate judge’s Findings and Recommendation.           The Court
agrees with the magistrate judge that Franklin was lawfully stopped and his vehicle
lawfully searched. That Franklin was alone in his vehicle and the dispatch identified two
male suspects did not deprive the officers of reasonable suspicion.

       For the foregoing reasons,

       IT IS ORDERED:
       1.     Defendant Jonathan Ramone Franklin’s objection (Filing No. 73) to the
              magistrate judge’s Findings and Recommendation is overruled.
       2.     The magistrate judge’s Findings and Recommendation (Filing No. 72) is
              accepted in its entirety.
       3.     Franklin’s Motion to Suppress (Filing No. 63) is denied.


       Dated this 1st day of June, 2018.

                                                 BY THE COURT:



                                                 Robert F. Rossiter, Jr.
                                                 United States District Judge




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